     Case 2:22-cv-00174-TOR     ECF No. 19     filed 09/16/22   PageID.649 Page 1 of 54




 1
      RHETT V. BARNEY, WSBA #44764
      LEE & HAYES, P.C.
 2    601 W. Riverside Avenue, Suite 1400
      Spokane, WA 99201
 3    Phone: (509) 324-9256; Fax: (509) 323-8979

 4    ROBERT J. CARLSON, WSBA#18455
      LEE & HAYES, P.C.
 5    One Convention Place
      701 Pike Street, Ste. 1600
 6    Seattle, WA 98101
      Phone: (206) 315-4001; Fax (206) 315-4004
 7

 8    Counsel for Plaintiff City of Leavenworth
 9
                            UNITED STATES DISTRICT COURT
10                         EASTERN DISTRICT OF WASHINGTON
11     CITY OF LEAVENWORTH,
       a Washington municipal corporation,              No. 2:22-cv-00174
12

13                                                      DECLARATION OF ETHAN B.
                                 Plaintiff,             VODDE IN SUPPORT OF
14                                                      PLAINTIFF’S REPLY IN
               v.                                       SUPPORT OF ITS MOTION
15                                                      FOR PRELIMINARY
16     PROJEKT BAYERN ASSOCIATION,                      INJUNCTION
       a Washington nonprofit corporation,
17
                                 Defendant.
18

19

20
              I, Ethan B. Vodde, declare under penalty of perjury of the laws of the United
21

22    States of America as follows:
23       1.         I am a resident of the state of Washington and I am over the age of
24
      majority. I have personal knowledge of the facts set forth herein and I am competent
25

26    to testify to the facts set forth herein. I am an attorney for Plaintiff City of

                                                                LEE & HAYES, P.C.
         DECLARATION OF ETHAN VODDE IN SUPPORT OF               601 West Riverside Avenue, Suite 1400
                                                                Spokane, Washington 99201
         MOTION FOR PRELIMINARY INJUNCTION - 1                  Telephone: (509) 324-9256 Fax: (509) 323-
                                                                8979
     Case 2:22-cv-00174-TOR    ECF No. 19    filed 09/16/22   PageID.650 Page 2 of 54




 1    Leavenworth (“Plaintiff”) and am authorized to make this Declaration on its behalf. I
 2    am familiar with the underlying dispute in this matter, namely between Plaintiff and
 3
      Defendant Projekt Bayern Association (“PBA”).
 4

 5       2.        On August 24, 2022, I emailed counsel for PBA relevant to PBA’s
 6    opposition to an expedited hearing date for Plaintiff’s anticipated Motion for
 7
      Preliminary Injunction. I attach a true and correct copy of that email hereto as
 8

 9    Exhibit A.
10       3.        In that email I relayed Plaintiff’s concession that it would not seek an
11
      expedited hearing date if PBA was willing to address certain statements PBA had
12

13    made publicly.
14
         4.        On August 25, 2022, I emailed counsel for PBA relevant to other
15
      comments PBA had made and the scheduled hearing date for the instant motion. I
16

17    requested, on behalf of Plaintiff, that PBA delete the offending Facebook content. I
18
      attach a true and correct copy of that email thread hereto as Exhibit B.
19
         5.        I regularly monitor PBA’s Facebook page. I attach true and correct
20

21    copies of recent posts and comments from PBA’s Facebook page hereto as Exhibit C.
22
         6.        I have reviewed the file wrapper relevant to PBA’s application to register
23
      LEAVENWORTH OKTOBERFEST with the USPTO. That file wrapper contains
24

25    office actions issued by the USPTO, including one that defines “OKTOBERFEST”
26


                                                              LEE & HAYES, P.C.
         DECLARATION OF ETHAN VODDE IN SUPPORT OF             601 West Riverside Avenue, Suite 1400
                                                              Spokane, Washington 99201
         MOTION FOR PRELIMINARY INJUNCTION - 2                Telephone: (509) 324-9256 Fax: (509) 323-
                                                              8979
     Case 2:22-cv-00174-TOR     ECF No. 19    filed 09/16/22   PageID.651 Page 3 of 54




 1    and included a disclaimer requirement of “OKTOBERFEST.” I attach a true and
 2    correct copy of that office action, publicly available on the USPTO’s website, hereto
 3
      as Exhibit D. That file wrapper also contains PBA’s response to that USPTO office
 4

 5    action and a response that included a claim of acquired distinctiveness. I attach true
 6    and correct copies of PBA’s responses hereto as Exhibits E and F.
 7
         7.        I have reviewed the Washington Secretary of State’s website relative to
 8

 9    the filings of a “Projekt Bayern Association,” formed in 2009, with a UBI of 602 323
10    799. I attach a true and correct copy of this entity’s “Application to Form a Nonprofit
11
      Corporation” publicly available through the Washington Secretary of State’s website
12

13    hereto as Exhibit G.
14
         8.        I have reviewed PBA’s Response to Plaintiff’s Motion for Preliminary
15
      Injunction and the relative supporting declarations, including the Declaration of Steve
16

17    Lord and the associated Exhibit A. This document is located in the record at ECF No.
18
      17-1 at 2. I note that the UBI listed for this entity is 601 771 677.
19
         9.        My law firm sent a letter to Projekt Bayern on July 26, 2022. I attach a
20

21    true and correct copy of this letter as Exhibit H.
22

23

24

25

26


                                                               LEE & HAYES, P.C.
         DECLARATION OF ETHAN VODDE IN SUPPORT OF              601 West Riverside Avenue, Suite 1400
                                                               Spokane, Washington 99201
         MOTION FOR PRELIMINARY INJUNCTION - 3                 Telephone: (509) 324-9256 Fax: (509) 323-
                                                               8979
     Case 2:22-cv-00174-TOR    ECF No. 19    filed 09/16/22   PageID.652 Page 4 of 54




 1          I declare under penalty of perjury of the laws of the United States of America that
 2    the foregoing is true and correct. Signed this 16th day of September 2022, at Spokane,
 3
      Washington, via electronic approval and signature below.
 4

 5

 6          Ethan B. Vodde
 7

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26
                                                              LEE & HAYES, P.C.
         DECLARATION OF ETHAN VODDE IN SUPPORT OF             601 West Riverside Avenue, Suite 1400
                                                              Spokane, Washington 99201
         MOTION FOR PRELIMINARY INJUNCTION - 4                Telephone: (509) 324-9256 Fax: (509) 323-
                                                              8979
 Case 2:22-cv-00174-TOR          ECF No. 19   filed 09/16/22   PageID.653 Page 5 of 54




                          Exhibit A




Declaration of Ethan Vodde - 5
           Case 2:22-cv-00174-TOR            ECF No. 19        filed 09/16/22      PageID.654 Page 6 of 54


Ethan Vodde

From:                Ethan Vodde
Sent:                Wednesday, August 24, 2022 12:15 PM
To:                  Breitenbucher, James E.; Johanna Tomlinson; Spota, Cali R.
Cc:                  Rhett Barney; Bob Carlson; Crystal Batson; kkonkright@lukins.com
Subject:             RE: City of Leavenworth v Projekt Bayern - Hearing Availability


Hi Jim,

Sorry to intrude on your travel to Peru. Thanks for including Kelly in the cc line here; please forward to any others
working on this matter.

Of utmost immediate concern to our client is your client’s continued public statements that the City of Leavenworth is
not hosting an Oktoberfest this year, which is untrue. To that end, we’re willing to schedule a hearing date the 26th or
27th (depending on the Court’s availability) if your client is willing to post a “Correction:” to its public‐facing Facebook
and web pages by Friday, August 25, 2022 that it is your client’s understanding that:

          "There will be two Oktoberfest celebrations in Central Washington this year: an Oktoberfest in the City
          of Leavenworth on Sept 30‐Oct 1, Oct 7‐8, & Oct 14‐15, and an Oktoberfest in Wenatchee on the same
          dates."

Please let us know by EOB tomorrow (Thursday, August 25, 2022) if your client is willing to make this
statement. Otherwise, we will move forward with our request for an expedited hearing and we will advise the court
that you and your client do not consent.

And please let me know if there’s someone else in one of your offices who can interface on this. We look forward to
hearing from you.

Best,

Ethan

Ethan B. Vodde | Lee & Hayes
Attorney
Ethan.Vodde@leehayes.com
P 509.944.4684

From: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>
Sent: Tuesday, August 23, 2022 6:46 PM
To: Johanna Tomlinson <Johanna.Tomlinson@leehayes.com>; Ethan Vodde <Ethan.Vodde@leehayes.com>; Spota, Cali
R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Crystal Batson
<Crystal.Batson@leehayes.com>; kkonkright@lukins.com
Subject: Re: City of Leavenworth v Projekt Bayern ‐ Hearing Availability


[External Email]



                                                              1
          Declaration of Ethan Vodde - 6
           Case 2:22-cv-00174-TOR                  ECF No. 19          filed 09/16/22         PageID.655 Page 7 of 54

Johanna,
We oppose an expedited hearing. As I wrote below, I am currently out of the country on a family vacation. In addition,
any preliminary injunction motion that the City plans to file now could have been filed weeks ago when I advised Rhett
that my firm would be representing Projekt Bayern. We are available September 26 and 27.
Jim


From: Johanna Tomlinson <Johanna.Tomlinson@leehayes.com>
Sent: Tuesday, August 23, 2022 7:16 PM
To: Breitenbucher, James E.; Ethan Vodde; Spota, Cali R.
Cc: Rhett Barney; Bob Carlson; Crystal Batson
Subject: [EXT] RE: City of Leavenworth v Projekt Bayern ‐ Hearing Availability

Hi Jim,

We propose the following dates:

          September 6‐9

          September 19‐23

          September 26‐28

Recognizing that September 6‐9 and September 19‐23 would require an expedited hearing, would your client be willing
to stipulate to an expedited hearing if any of those dates work for both parties?

Thank you,

Johanna

Johanna Tomlinson | Lee & Hayes
Associate Attorney
Johanna.Tomlinson@leehayes.com
P 509.944.4707

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please delete it and notify the sender immediately.


From: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>
Sent: Tuesday, August 23, 2022 4:30 PM
To: Ethan Vodde <Ethan.Vodde@leehayes.com>; Spota, Cali R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Johanna Tomlinson
<Johanna.Tomlinson@leehayes.com>; Crystal Batson <Crystal.Batson@leehayes.com>
Subject: Re: City of Leavenworth v Projekt Bayern ‐ Hearing Availability


[External Email]



                                                                       2
          Declaration of Ethan Vodde - 7
          Case 2:22-cv-00174-TOR              ECF No. 19        filed 09/16/22      PageID.656 Page 8 of 54

Ethan,
Cali and I are both traveling. I am in Peru so it would be easier to communicate by email. Please send some proposed
hearing dates, and we will let you know what works for us.
Thanks,
Jim

From: Ethan Vodde <Ethan.Vodde@leehayes.com>
Sent: Tuesday, August 23, 2022 3:45:17 PM
To: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>; Spota, Cali R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Johanna Tomlinson
<Johanna.Tomlinson@leehayes.com>; Crystal Batson <Crystal.Batson@leehayes.com>
Subject: [EXT] City of Leavenworth v Projekt Bayern ‐ Hearing Availability

Dear Jim and Cali:

I’m an associate of Rhett Barney’s working on this matter. I left you each a voicemail earlier today concerning
availability for hearing dates relevant to a motion for preliminary injunction. Please give me a call; my direct line is
509.944.4684.

Thanks, and hope you’re well,

Ethan


Ethan B. Vodde | Lee & Hayes
Attorney
Ethan.Vodde@leehayes.com
P 509.944.4684 | F 509.323.8979
601 West Riverside Avenue, Suite 1400 | Spokane, Washington 99201

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to this email and delete the original and reply emails. Thank you.

                                                               3
        Declaration of Ethan Vodde - 8
 Case 2:22-cv-00174-TOR          ECF No. 19   filed 09/16/22   PageID.657 Page 9 of 54




                           Exhibit B




Declaration of Ethan Vodde - 9
           Case 2:22-cv-00174-TOR          ECF No. 19        filed 09/16/22     PageID.658 Page 10 of 54


Ethan Vodde

From:                Ethan Vodde
Sent:                Thursday, August 25, 2022 12:18 PM
To:                  Breitenbucher, James E.; Johanna Tomlinson; Spota, Cali R.
Cc:                  Rhett Barney; Bob Carlson; Crystal Batson; kkonkright@lukins.com; Olszyk, Christopher D.
Subject:             RE: City of Leavenworth v Projekt Bayern - Hearing Availability


Hi Jim:

We spoke with the Court and we have a hearing date of September 27th at 10am in Spokane, WA. We’ll file the motion
shortly.

Best,

Ethan

Ethan B. Vodde | Lee & Hayes
Attorney
Ethan.Vodde@leehayes.com
P 509.944.4684

From: Ethan Vodde
Sent: Thursday, August 25, 2022 12:02 PM
To: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>; Johanna Tomlinson
<Johanna.Tomlinson@leehayes.com>; Spota, Cali R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Crystal Batson
<Crystal.Batson@leehayes.com>; kkonkright@lukins.com; Olszyk, Christopher D. <colszyk@foxrothschild.com>
Subject: RE: City of Leavenworth v Projekt Bayern ‐ Hearing Availability

Hi Jim:

The July 6 Facebook post is not the only publication available to consumers stating the “City is lying” about the City’s
2022 Oktoberfest. Your client has continued to make statements that the City is “lying,” and reasonable consumers
viewing the “Leavenworth Oktoberfest” Facebook page would understand this to be a reference to the “lying” your
client posted about on July 6. Here are a few examples of your client’s statements (that continue through this week):




It also appears there was media coverage concerning the City’s 2022 Oktoberfest celebration at least as early as
February 3. See https://www.krem.com/article/life/leavenworth‐festivals‐events‐2022/293‐b9997886‐648f‐45c7‐b1db‐
7d4e059d01bf. We can explore the facts and law surrounding this issue later, but for now we confirm that the City
                                                             1
          Declaration of Ethan Vodde - 10
          Case 2:22-cv-00174-TOR          ECF No. 19       filed 09/16/22     PageID.659 Page 11 of 54

wants Projekt Bayern to delete the July 6 Facebook post and additionally delete all other Facebook posts intimating the
City is “lying” about hosting a 2022 Oktoberfest or that there will be no 2022 Oktoberfest in Leavenworth.

Notwithstanding, we’re amenable to a September 26 or September 27 hearing date and will be setting it with the Court.

Best,

Ethan

Ethan B. Vodde | Lee & Hayes
Attorney
Ethan.Vodde@leehayes.com
P 509.944.4684

From: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>
Sent: Thursday, August 25, 2022 11:04 AM
To: Ethan Vodde <Ethan.Vodde@leehayes.com>; Johanna Tomlinson <Johanna.Tomlinson@leehayes.com>; Spota, Cali
R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Crystal Batson
<Crystal.Batson@leehayes.com>; kkonkright@lukins.com; Olszyk, Christopher D. <colszyk@foxrothschild.com>
Subject: RE: City of Leavenworth v Projekt Bayern ‐ Hearing Availability


[External Email]


Ethan,
We assume your email refers to Projekt Bayern’s July 6 Facebook post. As of July 6, the City’s partner for a “yet unnamed
October 2022 festival” had withdrawn its participation, and the City had not yet announced it was hosting an
“Oktoberfest” in Leavenworth during 2022. Projekt Bayern has no obligation to go back and “correct” statements that
were true when made. Nor does Projekt Bayern have any obligation to advertise the City’s event through Projekt
Bayern’s communication channels. Nonetheless, Project Bayern is amenable to deleting the July 6 Facebook post to
address the City’s concerns.
Please confirm whether the City wants Projekt Bayern to delete the July 6 Facebook post.
If you are interested in further discussing this matter by phone, I can be available tomorrow morning.

Jim Breitenbucher
Fox Rothschild LLP – Seattle
LinkedIn | Emerging Tech
206.389.1775 | Mobile 206.384.0785
jbreitenbucher@foxrothschild.com

From: Ethan Vodde <Ethan.Vodde@leehayes.com>
Sent: August 24, 2022 12:15 PM
To: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>; Johanna Tomlinson
<Johanna.Tomlinson@leehayes.com>; Spota, Cali R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Crystal Batson
<Crystal.Batson@leehayes.com>; kkonkright@lukins.com
Subject: [EXT] RE: City of Leavenworth v Projekt Bayern ‐ Hearing Availability

Hi Jim,


                                                            2
          Declaration of Ethan Vodde - 11
         Case 2:22-cv-00174-TOR             ECF No. 19        filed 09/16/22      PageID.660 Page 12 of 54

Sorry to intrude on your travel to Peru. Thanks for including Kelly in the cc line here; please forward to any others
working on this matter.

Of utmost immediate concern to our client is your client’s continued public statements that the City of Leavenworth is
not hosting an Oktoberfest this year, which is untrue. To that end, we’re willing to schedule a hearing date the 26th or
27th (depending on the Court’s availability) if your client is willing to post a “Correction:” to its public‐facing Facebook
and web pages by Friday, August 25, 2022 that it is your client’s understanding that:

        "There will be two Oktoberfest celebrations in Central Washington this year: an Oktoberfest in the City
        of Leavenworth on Sept 30‐Oct 1, Oct 7‐8, & Oct 14‐15, and an Oktoberfest in Wenatchee on the same
        dates."

Please let us know by EOB tomorrow (Thursday, August 25, 2022) if your client is willing to make this
statement. Otherwise, we will move forward with our request for an expedited hearing and we will advise the court
that you and your client do not consent.

And please let me know if there’s someone else in one of your offices who can interface on this. We look forward to
hearing from you.

Best,

Ethan

Ethan B. Vodde | Lee & Hayes
Attorney
Ethan.Vodde@leehayes.com
P 509.944.4684

From: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>
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R. <cspota@foxrothschild.com>
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<Crystal.Batson@leehayes.com>; kkonkright@lukins.com
Subject: Re: City of Leavenworth v Projekt Bayern ‐ Hearing Availability


[External Email]


Johanna,
We oppose an expedited hearing. As I wrote below, I am currently out of the country on a family vacation. In addition,
any preliminary injunction motion that the City plans to file now could have been filed weeks ago when I advised Rhett
that my firm would be representing Projekt Bayern. We are available September 26 and 27.
Jim


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Sent: Tuesday, August 23, 2022 7:16 PM
To: Breitenbucher, James E.; Ethan Vodde; Spota, Cali R.
Cc: Rhett Barney; Bob Carlson; Crystal Batson
Subject: [EXT] RE: City of Leavenworth v Projekt Bayern ‐ Hearing Availability
                                                              3
        Declaration of Ethan Vodde - 12
          Case 2:22-cv-00174-TOR                  ECF No. 19           filed 09/16/22        PageID.661 Page 13 of 54


Hi Jim,

We propose the following dates:

          September 6‐9

          September 19‐23

          September 26‐28

Recognizing that September 6‐9 and September 19‐23 would require an expedited hearing, would your client be willing
to stipulate to an expedited hearing if any of those dates work for both parties?

Thank you,

Johanna

Johanna Tomlinson | Lee & Hayes
Associate Attorney
Johanna.Tomlinson@leehayes.com
P 509.944.4707

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Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Johanna Tomlinson
<Johanna.Tomlinson@leehayes.com>; Crystal Batson <Crystal.Batson@leehayes.com>
Subject: Re: City of Leavenworth v Projekt Bayern ‐ Hearing Availability


[External Email]


Ethan,
Cali and I are both traveling. I am in Peru so it would be easier to communicate by email. Please send some proposed
hearing dates, and we will let you know what works for us.
Thanks,
Jim

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Sent: Tuesday, August 23, 2022 3:45:17 PM
To: Breitenbucher, James E. <jbreitenbucher@foxrothschild.com>; Spota, Cali R. <cspota@foxrothschild.com>
Cc: Rhett Barney <RhettB@Leehayes.com>; Bob Carlson <bob@LeeHayes.com>; Johanna Tomlinson
<Johanna.Tomlinson@leehayes.com>; Crystal Batson <Crystal.Batson@leehayes.com>
Subject: [EXT] City of Leavenworth v Projekt Bayern ‐ Hearing Availability
                                                                       4
          Declaration of Ethan Vodde - 13
         Case 2:22-cv-00174-TOR              ECF No. 19        filed 09/16/22      PageID.662 Page 14 of 54


Dear Jim and Cali:

I’m an associate of Rhett Barney’s working on this matter. I left you each a voicemail earlier today concerning
availability for hearing dates relevant to a motion for preliminary injunction. Please give me a call; my direct line is
509.944.4684.

Thanks, and hope you’re well,

Ethan


Ethan B. Vodde | Lee & Hayes
Attorney
Ethan.Vodde@leehayes.com
P 509.944.4684 | F 509.323.8979
601 West Riverside Avenue, Suite 1400 | Spokane, Washington 99201

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to this email and delete the original and reply emails. Thank you.




                                                               5
        Declaration of Ethan Vodde - 14
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.663 Page 15 of 54




                          Exhibit C




Declaration of Ethan Vodde - 15
      Case 2:22-cv-00174-TOR                    ECF No. 19             filed 09/16/22           PageID.664 Page 16 of 54

9/16/22, 3:15 PM                                                  (2) Leavenworth Oktoberfest | Facebook




                                                                Leavenworth Oktoberfest


                     steal


              Posts You've Seen


              Most Recent


              Tagged Location


                          Leavenworth
              Date Posted 8h ·        Oktoberfest

                     14 more days till leavenworth Oktoberfest in Wenatchee.




https://www.facebook.com/page/124448264249123/search/?q=steal                                                              1/5


     Declaration of Ethan Vodde - 16
      Case 2:22-cv-00174-TOR                    ECF No. 19             filed 09/16/22         PageID.665 Page 17 of 54

9/16/22, 3:15 PM                                                (2) Leavenworth Oktoberfest | Facebook

                                                                                                                      1        2




                       Steve Lord
                       Yesterday at 5:28 AM ·
                       What a great night. It was great seeing all of the Oktoberfest team last night. Hard to
                       believe it has been 3 years. Big thanks to all who showed up and to the town Toyota
                       center for being so helpful. It is like night and day dealing with Wenatchee. They get
                       tourism and business. I don’t know why anyone would work with the city of leavenworth
                       after seeing what they did to a group that has done more for Leavenworth than they have
                       ever done. The city and chamber are trying to steal an event that they have never put a
                       penny or any time into. Hope every group sees what they have done. They have shown
                       groups that if they spend time building an event the city will lie and steal to take it away.
                       Very disgusting to watch. But that’s the way our mayor and council work.


                                 Lasterbacher Band and 53 others
                                 54                                                                      12 Comments 3 Shares


                                                Like                                                     Share


                              Leavenworth Oktoberfest limited who can comment on this post.


                                                                                                                 All comments﻿

                              Tim Hogg
                              It’s time to stop complaining about the terrible political scene in Leavenworth
                              and start really promoting your event and how incredible it is going to be. You
                              accomplished a massive undertaking and I think it gets sullied a bit by
                              consistently throwing shade at the issue. Everyone knows now. It’s time to
                              Take the high road
                              And tell everyone about all the awesome.
                              We are definitely coming to YOUR event!
                                                                                                                          10
                              Like   Page responded privately     8h

                              Greg Forinash
                              Looks awesome! Has anyone gotten the figures of what the city and chamber of
                              commerce are paying the producers of that other event?
                              Like   Page responded privately     8h

                              Lisa Woodard
                              As an outsider to your drama it will be interesting to stay in Leavenworth and
                              enjoy the great atmosphere that is enjoyed year round and go to your event -
                              hopefully you are interested in feedback?
                                                                                                                          3
                              Like   8h

                              Nick Price
                              Oh this atmosphere does not deserve the Leavenworth name to be attached to
                              it
https://www.facebook.com/page/124448264249123/search/?q=steal                                                                      2/5


     Declaration of Ethan Vodde - 17
      Case 2:22-cv-00174-TOR                     ECF No. 19            filed 09/16/22         PageID.666 Page 18 of 54

9/16/22, 3:15 PM                                                (2) Leavenworth Oktoberfest | Facebook

                                                                                                                1    5 2
                              Like   8h

                              Lisa Scheibe
                              I’m coming for the first time ever this year, as a visitor and first-timer, I didn’t
                              need to know this nor did I want to.
                                                                                                                     4
                              Like   8h

                              Jessica Marshall
                              Chelsie Wilsey
                              Like   8h

                              Alan Moen
                              The original Oktoberfest starts September 17 this year in Munich and ends
                              October 2.
                              Like   8h

                              Jonathan Peters
                              Leavenworth Oktoberfest in Wenatchee… why not Wenatchee Oktoberfest ?
                                                                                                                4
                              Like   Page responded privately     7h



                              Leavenworth Oktoberfest

                              September 1 at 6:30 AM ·

                     We are so excited for our entertainment line-up this year! Can't wait to see all our favorites
                     back on stage! See you all soon...only 29 days until the doors open to the Leavenworth
                     Oktoberfest in our new location at the Wenatchee Town Toyota Center! Shuttle schedules have
                     also been posted on our websit




https://www.facebook.com/page/124448264249123/search/?q=steal                                                              3/5


     Declaration of Ethan Vodde - 18
      Case 2:22-cv-00174-TOR                      ECF No. 19            filed 09/16/22           PageID.667 Page 19 of 54

9/16/22, 2:27 PM                                                   (1) Leavenworth Oktoberfest | Facebook
                                   Megan Couturier
                                   Dewey Nelson It's both, Different hosts with different events.                    1

                                   Like   Reply     6w    Edited

                                   Michael Muller
                                   Dewey Nelson NO. I know its confusing
                                   Like   Reply     6w

                                          Dewey Nelson
                                          Michael Muller I dont know who or why they changed it but sometimes
                                          in my oldening age its best to leave well enough alone!
                                          Like    Reply    6w

                                          Michael Muller
                                          Dewey Nelson Well I am 64 years old and have been going to every
                                          festival since I was a kid. My father passed away one year ago and he
                                          loved Levinworth. We are going to October fest just so I can dress up
                                          and do the chicken dance with my 83 year old mother.
                                          This is the best description of why Leavenworth changed. I did not right
                                          this. But heard the same thing from a bed and breakfast owner in
                                          leavenworth.
                                          As you all have heard Leavenworth Oktoberfest is now in Wenatchee. The
                                          chamber and city in Leavenworth are lying to the visitors. Leavenworth
                                          Oktoberfest is owned by Projekt Bayern. The mayor decided to not sign
                                          permits and is trying to steal an event the city has never put anything
                                          into. This is how Carl is. Never does anything on his own. They are lying
                                          to keep hotel rates up. There is no Oktoberfest in leavenworth. I Repeat
                                          there is no Oktoberfest in Leavenworth this year. If you are staying in
                                          Leavenworth and your hotel has said there is an Oktoberfest they are
                                          lying also. They all have been informed that Oktoberfest is in Wenatchee.
                                          We will have shuttles from Leavenworth to Wenatchee so people can still
                                          stay in Leavenworth. But if they are charging festival rates there is no
                                          festival in Leavenworth. Have a great day. I have deleted the complainers
                                          that live in leavenworth. This post is to inform visitors what is really
                                          happening.
                                          Like    Reply    6w

                                   Donna Tim
                                   the one in Leavenworth is more of a street fair than Oktoberfest. spread the
                                   word.
                                   Like   Reply     6w

                                   Reply to Dewey Nelson…


                            Michael Muller
                            Looking forward to it. It is a family tradition over 50 years.




https://www.facebook.com/oktoberfestWA/                                                                                     70/76


     Declaration of Ethan Vodde - 19
      Case 2:22-cv-00174-TOR                       ECF No. 19         filed 09/16/22           PageID.668 Page 20 of 54

9/16/22, 2:32 PM                                                 (1) Leavenworth Oktoberfest | Facebook
                                   Like    Reply    2w
                                                                                                                       1



                                           Trevor Olson
                                           Janet Jenkins and coinless parking meters everywhere! I'm not getting
                                           an app with personal info on it to park!!
                                           Like    Reply   2w

                                           Janet Jenkins
                                           Trevor Olson agree. Not what it use to be
                                           Like    Reply   2w

                                   Reply to Trevor Olson…


                            Gary McGuire
                            Great opportunity for Uber and Lift drivers…
                            Like   Reply    2w

                            Lance Bohren
                            I'm so confused         is it in Leavenworth or Wenatchee?
                                                                                                 3
                            Like   Reply    2w

                                   Sallie Berg
                                   Lance Bohren Agree. We are staying in Leavenworth but where is octoberfest?
                                   Never been, so am confused.
                                   Like    Reply    1w

                                           Leavenworth Oktoberfest
                                           Sallie Berg the Leavenworth Oktoberfest that has been happening for 23
                                           years is in Wenatchee. Some Wenatchee hotels have free shuttles.
                                           Leavenworth taxi and shuttle is offering a shuttle from Leavenworth to
                                           Wenatchee and back for 20 per person each way. If you are coming for
                                           the Leavenworth Oktoberfest that everyone comes for I would stay in
                                           Wenatchee and go to Leavenworth on Sunday on my way home. Have a
                                           great time.
                                           Like    Reply   1w

                                           Sallie Berg
                                           Leavenworth Oktoberfest thank you!
                                           Like    Reply   1w

                                           Garth Donald
                                           There will be fun Oktoberfest activities in Leavenworth all three
                                           weekends! I think this one is a satellite event so folks in Wenatchee can
                                           also enjoy the festivities?
                                           Like    Reply   1w

                                           Kevin Kane
                                           When will Wenatchee go with the Bavarian look storefronts ? With that
                                           they can own the Christmas tree lighting too.
                                           Like    Reply   1d

                            Christy Cox
                            Wh       i L
https://www.facebook.com/oktoberfestWA/
                                                    th i thi l     t d?                                                    35/64


     Declaration of Ethan Vodde - 20
      Case 2:22-cv-00174-TOR                       ECF No. 19           filed 09/16/22          PageID.669 Page 21 of 54

9/16/22, 2:32 PM                                                  (1) Leavenworth Oktoberfest | Facebook

                                                                                                                          1




                               Lasterbacher Band, Party Kryner and 55 others
                               57                                                                          45 Comments 13 Shares

                                      Like                                 Comment                               Share

                                                                                                                 All comments﻿

                            Write a comment…

                            Dalton Cunningham
                            I wonder what the one this year in the town Toyota center in Wenatchee will get
                            rated, maybe you can put a projector up and show pictures of Leavenworth.
                                                                                                                          8
                            Like   Reply     Page responded privately     3w    Edited

                            Mark Metsker
                            Wenatchee Octoberfest. Let me know when it is back in Leavenworth. Been going for
                            15 yrs., but not anymore. Love Wenatchee, but it's not Bavarian enough. Why is it
                            someone always has to ruin a good thing. When is the Christmas festival moving and
                            where to?
                            Like   Reply     3w

                                   Leavenworth Oktoberfest
                                   Mark Metsker the city and chamber already changed Christmas lighting last
                                   year. It is now Festival of Lights. The new council and chamber want to cut
                                   tourism to make their neighbors happy. The new people here complain about
                                   everything. They hate traffic they hate that visitors use Safeway. They will be
                                   sorry when it starts costing them. The original locals see the importance of
                                   tourism and making the visitors happy. The new chamber is all about tricking
                                   the visitors. Very sad to watch.
                                   Like    Reply    3w   Edited

                            Daniel Rodriguez
                            With as much drama as I’ve seen on these posts they might as well make a reality tv
                            show or Netflix documentary on this lol
                                                                                                                         15
                            Like   Reply     4w

                            Stone Malone
                            Since it's not in actually in leavenworth i think I'll be at Gruff Brewing Company in
                            Bellingham
                                                                                                                          2
                            Like   Reply     4w

                            Kevin Roemhildt
                            The only good Oktoberfest Is in Mt. Angel Oregon
                                                                                         2
                            Like   Reply     4w

                                   Nancy Harder Perry
                                   Kevin Roemhildt Kirkland Oktoberfest is great too!
https://www.facebook.com/oktoberfestWA/                                                                                            47/64


     Declaration of Ethan Vodde - 21
      Case 2:22-cv-00174-TOR                        ECF No. 19      filed 09/16/22           PageID.670 Page 22 of 54

9/16/22, 2:34 PM                                               (1) Leavenworth Oktoberfest | Facebook
                            thing y… See more
                                                                                                                              1
                            Like   Reply      4w



                            Wayne VandeKrol
                            Car cruise?
                            Like   Reply      9w

                            Ruth Nelson
                            Since it’s now in Wenatchee you should stop false advertising and change the name!
                                                                                                                          2
                            Like   Reply      9w

                                   Casey Ford
                                   Ruth Nelson that is the registered name of the Festival. It's not false that is it's
                                   name. The Mayor of Leavenworth did not renew the festivals contract with the
                                   city and Wenatchee invited the festival to town and is hosting it.
                                                                                                                              2
                                   Like     Reply      9w

                                   Casey Ford
                                   Feel free to contact Carl Florea
                                   Mayor of Leavenworth worth and let him know you would like him to renew
                                   the Oktoberfest contract and hold it in Leavenworth.
                                   cflorea@cityofleavenworth.com
                                   (509) 548-5275 Ext. 125
                                   Like     Reply      9w

                            Dan Benjamin
                            Liberal Leavenworth mayor has cancelled Oktoberfest in Leavenworth. Wenatchee
                            picked it up.
                                                                                                                          19
                            Like   Reply      9w

                                   Jayme Miller
                                   Dan, it has nothing to do with left or the right. Not everything has to do with
                                   politics. The Chamber simply doesn't want the crowds
                                                                                                                          14
                                   Like     Reply      9w

                                          8 Replies

                                   Richard Mclaughlin
                                   Dan Benjamin “ ErMaHGerD! LeFTisT MaYoR” is how you heavy breathers
                                   sound.
                                                                                                                              7
                                   Like     Reply      9w

                                View 2 more replies

                            Nick Price
                            You really should put in your post that it's in wenatchee not in leavenworth
                            Like   Reply      9w      Edited

                                   Chris Pribbernow
                                   Nick Price These organizers moved their festival to Wenatchee. However,
                                   Leavenworth will still be holding Oktoberfest, too.
                                   Like     Reply      8w

                            Cathy Hughes
                            It i W
https://www.facebook.com/oktoberfestWA/
                                           t h        tL       th                                                                 90/96


     Declaration of Ethan Vodde - 22
      Case 2:22-cv-00174-TOR                         ECF No. 19         filed 09/16/22           PageID.671 Page 23 of 54

9/16/22, 2:38 PM                                                   (1) Leavenworth Oktoberfest | Facebook

                                                                                                                         1

                                   Like    Reply      6w

                                           Karen Helmold
                                           Yenelli Anderson Thank you
                                           Like      Reply   6w

                                           Yenelli Anderson
                                           Karen Helmold it would be nice if there was extended service, but that
                                           would give vacationers and visitors plenty of time to enjoy both the lake
                                           and take in the O'fest! I like the idea of lodging in Chelan!
                                           Like      Reply   6w

                                   Reply to Karen Helmold…


                            George M. Arnold
                            If you don’t want the Oktoberfest in your town then you can’t have your name on it!
                            Period!!
                                                                                                                     16
                            Like   Reply       27w

                                   Leavenworth Oktoberfest
                                   George M. Arnold do some reading. We want the Oktoberfest in Leavenworth
                                   the Mayor does not!
                                                                                                                     13
                                   Like    Reply      27w

                                           George M. Arnold
                                           Leavenworth Oktoberfest I understand that and I want it in
                                           Leavenworth. The town is perfect for it. The architecture, scenery and
                                           community makes the experience. But if it’s not in the town of
                                           Leavenworth then the town name shouldn’t be on it. Trust me, I’m still
                                           going.
                                                                                                                         2
                                           Like      Reply   26w    Edited

                                           Heather Johnson
                                           Leavenworth Oktoberfest recall election? Yet another dictator in WA. I
                                           agree with George above.
                                                                                                                         2
                                           Like      Reply   26w

                                           Sylv Rangel-Vbv
                                           Leavenworth Oktoberfest I apologize if this was already proposed in the
                                           comment section, but is there a board of trustees responsible that can
                                           over throw the city council/mayor’s decision for this? Has anyone started
                                           a petition?
                                           I do respect that you guys are trying to be amicable and flexible, but I
                                           also agree with others that if we are going to stick to tradition, location
                                           should be a part of that tradition as well. Viel glück!!
                                           Like      Reply   26w

                                   Cyndi Shelby Manka
                                   George M. Arnold well the reason that they aren’t holding it there for one is
                                   because idiots trash the town with garbage, drunken behavior. Noise. Etc.
                                                                                                                         2
                                   Like    Reply      26w

https://www.facebook.com/oktoberfestWA/
                                          5R    li                                                                           109/125


     Declaration of Ethan Vodde - 23
      Case 2:22-cv-00174-TOR                      ECF No. 19         filed 09/16/22          PageID.672 Page 24 of 54

9/16/22, 2:58 PM                                               (1) Leavenworth Oktoberfest | Facebook
                                             that is what put Leavenworth on the map.
                                                                                                           1            1
                                                                                                                    3
                                             Like    Reply   Page responded privately    22w

                                             Annie Dee
                                             Michael Muller 100% agree - it takes just a few bad eggs in
                                             powerful positions to hate tourists enough to want to slow the pace
                                             down.
                                             Sadly that town wouldn’t have survived if not for the genius idea of
                                             everything looking European-
                                             Let’s hope they vote in folks that want to continue growing this
                                             town in the hills-
                                             Like    Reply   22w




                                     William McCoy
                                     John Roberts they cancelled the official L’worth one. That’s why it moved.
                                                                                                                 2
                                     Like    Reply    22w

                                     Reply to John Roberts…


                              Robert C McLaughlan
                              Just being in leavenworth a few weeks ago i was told this from more than one
                              shop owner.They are still having Octoberfest in leavenworth. The name has
                              been taken by the promoter and moved to Wenatchee because the town and
                              the promoter couldn't come to terms. So yes still go to leavenworth like you
                              have for years and support their local shops.
                              Like   Reply    22w

                                     Leavenworth Oktoberfest
                                     Robert C McLaughlan no they are not. They are doing a family street fair.
                                     It will not be anything like Oktoberfest
                                     Like    Reply    22w

                                             Robert C McLaughlan
                                             Leavenworth Oktoberfest Whatever
                                             Like    Reply   22w

                                     Tj Freeby
                                     Robert C McLaughlan Sounds like the event that happened last year. We
                                     went, and it was pretty lame. The sidewalks were rolled up by 7pm. No
                                     live music sparing a few random buskers. Zero vibe.
                                     Like    Reply    22w

                                     Reply to Robert C McLaughlan…


                              Teresa Boxleitner
                              Works for me, then I can just go enjoy Leavenworth without the hassles and
                              traffic
                                                                                                                    4
                              Like   Reply    22w

                                  3 Replies

                              Robert Forehand
https://www.facebook.com/page/124448264249123/search/?q=mclaughlan                                                          3/13


     Declaration of Ethan Vodde - 24
      Case 2:22-cv-00174-TOR                     ECF No. 19           filed 09/16/22          PageID.673 Page 25 of 54

9/16/22, 3:02 PM                                                (1) Leavenworth Oktoberfest | Facebook

                                      Kelly Janelle                                                         1           1




                                      Like    Reply   9w

                                      Reply to Becca Wiederrich…


                              Gary McLeod
                              Shame on you leavenworth mayor and city council.
                              If you had been from around here you would realize the significance of
                              traditions.… See more
                                                                                                                    3
                              Like    Reply    36w    Edited

                              Jean Peterson
                              Mount Angel has a great Oktoberfest. Come check it out.
                                                                                                  5
                              Like    Reply    36w

                                      Leavenworth Oktoberfest
                                      Jean Peterson they do a nice Oktoberfest. But it isn’t the Leavenworth
                                      Oktoberfest that everyone loves. The visitors that have come for years will
                                      be very happy with the changes. According to the feed back we are
                                      getting it is going to be a bigger event with room to grow in Wenatchee.
                                      Before you know it Wenatchee will start to look more Bavarian. Have a
                                      great day
                                                                                                                    6
                                      Like    Reply   36w

                              Sharon Crites
                              WOW, still can't believe the admin did this. I won't be back to Levenworth, and
                              several other folks I know won't support them until they get their act together.
https://www.facebook.com/page/124448264249123/search/?q="jean peterson"                                                     2/15


     Declaration of Ethan Vodde - 25
      Case 2:22-cv-00174-TOR                      ECF No. 19         filed 09/16/22           PageID.674 Page 26 of 54

9/16/22, 3:23 PM                                                (3) Leavenworth Oktoberfest | Facebook
                                     Robert C McLaughlan Sounds like the event that happened last year. We
                                                                                                         1
                                     went, and it was pretty lame. The sidewalks were rolled up by 7pm. No                   3
                                     live music sparing a few random buskers. Zero vibe.
                                     Like    Reply     22w

                              Teresa Boxleitner
                              Works for me, then I can just go enjoy Leavenworth without the hassles and
                              traffic
                                                                                                                         4
                              Like   Reply      22w

                                  3 Replies

                              Robert Forehand
                              Isn’t it time to rename this event? Why promote a town who no longer wants to
                              be associated with this event?
                              Heck, I’d suggest that people boycott the town while this event is being hosted.
                              Why give their local businesses the funds for lodging, restaurants, etc.?
                              By all means, visit them any other time of the year, but during this event, that
                              town should be empty.
                              Like   Reply      22w




                                     Leavenworth Oktoberfest
                                     Robert Forehand the nonprofit Projekt Bayern owns leavenworth
                                     Oktoberfest. They have spent 23 years branding the name. Leavenworth
                                     Oktoberfest is known all over the world. We will always use the name it is
                                     ours. People that have experienced leavenworth Oktoberfest will come to
                                     it wherever it is. The city is trying to trick the visitors to keep lodging taxes
                                     up. You are right people should not stay in leavenworth during October.
                                     The town will then see the importance of the festival.
                                                                                                                         7
                                     Like    Reply     22w

                                             Robert Forehand
                                             Leavenworth Oktoberfest I can appreciate that you want to keep
                                             the brand that you have built over two decades. I really do not want
                                             to see the current mayor benefit in anyway way by sending this
                                             beloved festival out of town, yet still see the town receive a financial
                                             gain.
                                                                                                                         4
                                             Like     Reply   22w

                              Terry A Wiyrick
                              Why stay in Leavenworth for Octoberfest when the mayor and his cronies ran it
                              out of town? They kick the event to the curb; they deserve to lose all if the
                              revenue from that event and see how long he keeps his job!
                                                                                                                    11
                              Like   Reply      22w

                                  3 Replies

                              Meghan Stevens
                              Bradley Stevens we should plan on going on one of these weekends!
                              Like   Reply      22w

                                  1 Reply
https://www.facebook.com/page/124448264249123/search/?q=forehand                                                                 3/9


     Declaration of Ethan Vodde - 26
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.675 Page 27 of 54




                          Exhibit D




Declaration of Ethan Vodde - 27
            Case 2:22-cv-00174-TOR                 ECF No. 19         filed 09/16/22           PageID.676 Page 28 of 54


To:                   Projekt Bayern Association (johns@sobbalaw.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87018344 - LEAVENWORTH OKTOBERFEST - 0051-000601
Sent:                 1/13/2017 11:05:08 AM
Sent As:              ECOM108@USPTO.GOV
Attachments:          Attachment - 1
                      Attachment - 2
                      Attachment - 3
                      Attachment - 4

                                  UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                           OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



         U.S. APPLICATION SERIAL NO. 87018344


         MARK: LEAVENWORTH OKTOBERFEST
                                                                           *87018344*
         CORRESPONDENT ADDRESS:
           JOHN W. SOBBA                                                   CLICK HERE TO RESPOND TO THIS LETTER:
             SOBBA LAW GROUP PLLC                                          http://www.uspto.gov/trademarks/teas/response_forms.jsp

             2018 WOODRIDGE STREET
             WENATCHEE, WA 98801                                           VIEW YOUR APPLICATION FILE


         APPLICANT: Projekt Bayern Association


         CORRESPONDENT’S REFERENCE/DOCKET NO :
             0051-000601
         CORRESPONDENT E-MAIL ADDRESS:
             johns@sobbalaw.com




                                                           OFFICE ACTION


                                   STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.




ISSUE/MAILING DATE: 1/13/2017


INTRODUCTION


This Office action is in response to applicant’s communication filed on December 13, 2016 .


           Declaration of Ethan Vodde - 28
             Case 2:22-cv-00174-TOR                 ECF No. 19          filed 09/16/22         PageID.677 Page 29 of 54



In a previous Office action(s) dated August 25, 2016, the trademark examining attorney refused registration of the applied-for mark based on the
following: failure to show the applied-for mark in use in commerce with any of the specified goods and geographic descriptiveness under
Section 2(e)(2). In addition, applicant was required to satisfy the following requirement(s): submit an additional fee for failure to comply with
the TEAS Plus requirements.


The following refusal(s) have also been obviated: Section 2(e)(2) refusal. See TMEP §§713.02, 714.04.


The requirements for an acceptable specimen in International Class 25 and additional fee for failure to comply with the TEAS Plus requirements
are maintained and continued.


Disclaimer
Applicant must disclaim the wording “ OCTOBERFEST” because it is a generic designation for applicant’s services and is thus an unregistrable
component of the mark. See 15 U.S.C. §§1052(e)(1), 1056(a); In re Am. Inst. of Certified Pub. Accountants, 65 USPQ2d 1972, 1981-85 (TTAB
2003); TMEP §§1212.02(e), 1213.03(b).


Determining whether a mark is generic requires a two-step inquiry:


       (1)     What is the genus of services at issue?


       (2)     Does the relevant public understand the designation primarily to refer to that genus of services?


H. Marvin Ginn Corp. v. Int’l Ass’n of Fire Chiefs, Inc., 782 F.2d 987, 989-90, 228 USPQ 528, 530 (Fed. Cir. 1986); In re Meridian Rack &
Pinion, 114 USPQ2d 1462, 1463 (TTAB 2015) (citing In re 1800Mattress.com IP, LLC, 586 F.3d 1359, 1363, 92 USPQ2d 1682, 1684 (Fed. Cir.
2009)); TMEP §1209.01(c)(i).


Regarding the first part of the inquiry, the genus of services is often defined by an applicant’s identification of services. In re Meridian Rack &
Pinion, 114 USPQ2d at 1463 (citing Magic Wand Inc. v. RDB Inc., 940 F.2d 638, 640, 19 USPQ2d 1551, 1552 (Fed. Cir. 1991)).


In this case, the application identifies the services as “Entertainment services in the nature of organizing and conducting cultural festivals
featuring food, beverages, alcohol, live musical performances and entertainment for children and adults,” which adequately defines the genus at
issue.


Regarding the second part of the inquiry, the relevant public is the purchasing or consuming public for the identified services. Sheetz of Del.,
Inc. v. Doctor’s Assocs. Inc., 108 USPQ2d 1341, 1351 (TTAB 2013) (citing Magic Wand Inc. v. RDB Inc., 940 F.2d at 640, 19 USPQ2d at
1553). In this case, the relevant public comprises ordinary consumers, because there are no restrictions or limitations to the channels of trade or
classes of consumers. The attached evidence from dictionary.com shows that the wording “OCTOBERFEST ” in the applied-for mark refers to a
type of festival and thus the relevant public would understand this designation to refer primarily to the genus of services.


All generic names of a product or service are not registrable and belong in the public domain for competitors to use. See In re Women’s Publ’g
Co., 23 USPQ2d 1876, 1877 (TTAB 1992) (citing In re Sun Oil Co., 426 F.2d 401, 404, 165 USPQ 718, 719 (C.C.P.A. 1970) (Rich, J.,
concurring)). The disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.


If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).


Applicant should submit a disclaimer in the following standardized format:



             Declaration of Ethan Vodde - 29
            Case 2:22-cv-00174-TOR                    ECF No. 19            filed 09/16/22         PageID.678 Page 30 of 54



        No claim is made to the exclusive right to use “ OCTOBERFEST” apart from the mark as shown.


For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.


If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-mail
communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to this
Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-.05.
Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in this
Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $50 per
international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-mail without
incurring this additional fee.




                                                /arademacher/
                                                April L. Rademacher
                                                Examining Attorney
                                                USTPO
                                                Law Office 108
                                                571-270-3353
                                                april.rademacher@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.


All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.




           Declaration of Ethan Vodde - 30
         Case 2:22-cv-00174-TOR           ECF No. 19      filed 09/16/22    PageID.679 Page 31 of 54


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




         Declaration of Ethan Vodde - 31
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.680 Page 32 of 54




Declaration of Ethan Vodde - 32
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.681 Page 33 of 54




Declaration of Ethan Vodde - 33
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.682 Page 34 of 54




Declaration of Ethan Vodde - 34
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.683 Page 35 of 54




Declaration of Ethan Vodde - 35
            Case 2:22-cv-00174-TOR               ECF No. 19          filed 09/16/22       PageID.684 Page 36 of 54


To:                   Projekt Bayern Association (johns@sobbalaw.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87018344 - LEAVENWORTH OKTOBERFEST - 0051-000601
Sent:                 1/13/2017 11:05:09 AM
Sent As:              ECOM108@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 1/13/2017 FOR U.S. APPLICATION SERIAL NO. 87018344


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 1/13/2017 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.


Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the TEAS response form located at
http://www.uspto.gov/trademarks/teas/response_forms.jsp.


(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                             WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.


PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that


           Declaration of Ethan Vodde - 36
           Case 2:22-cv-00174-TOR                 ECF No. 19          filed 09/16/22        PageID.685 Page 37 of 54


closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




          Declaration of Ethan Vodde - 37
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.686 Page 38 of 54




                          Exhibit E




Declaration of Ethan Vodde - 38
                   Case 2:22-cv-00174-TOR                     ECF No. 19              filed 09/16/22             PageID.687 Page 39 of 54


Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         87018344
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 108
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/87018344/large
 LITERAL ELEMENT                                                       LEAVENWORTH OKTOBERFEST
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 ADDITIONAL STATEMENTS SECTION
                                                                       No claim is made to the exclusive right to use OKTOBERFEST apart from the mark
 DISCLAIMER
                                                                       as shown.
 PAYMENT SECTION
 NUMBER OF CLASSES                                                     1
 APPLICATION FOR REGISTRATION PER CLASS                                225
 TOTAL FEES DUE                                                        225
 SIGNATURE SECTION
 RESPONSE SIGNATURE                                                    /John Sobba/
 SIGNATORY'S NAME                                                      John Sobba
 SIGNATORY'S POSITION                                                  Attorney
 SIGNATORY'S PHONE NUMBER                                              2068773382
 DATE SIGNED                                                           01/23/2017
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Mon Jan 23 21:50:06 EST 2017
                                                                       USPTO/ROA-XX.XX.XX.XXX-20
                                                                       170123215006337515-870183
                                                                       44-58043a4a761f8b61ad5d92
 TEAS STAMP
                                                                       9ee8cb361e8047e494fbde547
                                                                       e5675ec3f5bac2fb297-CC-82
                                                                       00-20170123214432143347




                 Declaration of Ethan Vodde - 39
                   Case 2:22-cv-00174-TOR                     ECF No. 19              filed 09/16/22             PageID.688 Page 40 of 54


Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)



                                                                   Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 87018344 LEAVENWORTH OKTOBERFEST(Standard Characters, see https://tmng-
al.uspto.gov/resting2/api/img/87018344/large) has been amended as follows:

ADDITIONAL STATEMENTS
Disclaimer
No claim is made to the exclusive right to use OKTOBERFEST apart from the mark as shown.


FEE(S)
Fee(s) in the amount of $225 is being submitted.

SIGNATURE(S)
Response Signature
Signature: /John Sobba/ Date: 01/23/2017
Signatory's Name: John Sobba
Signatory's Position: Attorney

Signatory's Phone Number: 2068773382

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


RAM Sale Number: 87018344
RAM Accounting Date: 01/24/2017

Serial Number: 87018344
Internet Transmission Date: Mon Jan 23 21:50:06 EST 2017
TEAS Stamp: USPTO/ROA-XX.XX.XX.XXX-20170123215006337
515-87018344-58043a4a761f8b61ad5d929ee8c
b361e8047e494fbde547e5675ec3f5bac2fb297-
CC-8200-20170123214432143347




                 Declaration of Ethan Vodde - 40
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.689 Page 41 of 54




Declaration of Ethan Vodde - 41
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.690 Page 42 of 54




                           Exhibit F




Declaration of Ethan Vodde - 42
                   Case 2:22-cv-00174-TOR                     ECF No. 19              filed 09/16/22             PageID.691 Page 43 of 54


Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1960 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                   Request for Reconsideration after Final Action


                                                        The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         87018344
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 108
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/87018344/large
 LITERAL ELEMENT                                                       LEAVENWORTH OKTOBERFEST
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 GOODS AND/OR SERVICES SECTION (025)(current)
 INTERNATIONAL CLASS                                                   025
 DESCRIPTION                                                           Baseball caps; Hats; Shirts; T-shirts
 FILING BASIS                                                          Section 1(a)
        FIRST USE ANYWHERE DATE                                        At least as early as 08/01/1998
        FIRST USE IN COMMERCE DATE                                     At least as early as 08/01/1998
 GOODS AND/OR SERVICES SECTION (025)(proposed)
 INTERNATIONAL CLASS                                                   025
 DESCRIPTION                                                           Baseball caps; Hats; Shirts; T-shirts
 FILING BASIS                                                          Section 1(a)
       FIRST USE ANYWHERE DATE                                         At least as early as 08/01/1998
       FIRST USE IN COMMERCE DATE                                      At least as early as 08/01/1998
                                                                       "The substitute (or new, or originally submitted, if appropriate) specimen(s)
                                                                       was/were in use in commerce at least as early as the filing date of the
                                                                       application"[for an application based on Section 1(a), Use in Commerce] OR "The
                                                                       substitute (or new, or originally submitted, if appropriate) specimen(s)
       STATEMENT TYPE                                                  was/were in use in commerce prior either to the filing of the Amendment to
                                                                       Allege Use or expiration of the filing deadline for filing a Statement of Use" [for
                                                                       an application based on Section 1(b) Intent-to-Use]. OR "The attached specimen is
                                                                       a true copy of the specimen that was originally submitted with the application,
                                                                       amendment to allege use, or statement of use" [for an illegible specimen].
       SPECIMEN
                                                                       \\TICRS\EXPORT17\IMAGEOUT 17\870\183\87018344\xml7\ RFR0002.JPG
       FILE NAME(S)

                                                                       T-shirt with the applied for mark "LEAVENWORTH OKTOBERFEST" inserted
                                                                       within a banner at the bottom third of an oblong shaped picture with a Bavarian hat
                                                                       on top of the picture, mountains in the background of the picture and with two beer
       SPECIMEN DESCRIPTION
                                                                       mugs situated over a blue and white checkered base in the foreground. Below the


                 Declaration of Ethan Vodde - 43
                   Case 2:22-cv-00174-TOR                     ECF No. 19              filed 09/16/22             PageID.692 Page 44 of 54


                                                                       applied for mark "LEAVENWORTH OKTOBERFEST" is situated the
                                                                       organization's name "Projekt Bayern" and location.
 GOODS AND/OR SERVICES SECTION (041)(no change)
 SIGNATURE SECTION
 DECLARATION SIGNATURE                                                 /John W Sobba/
 SIGNATORY'S NAME                                                      John W Sobba
 SIGNATORY'S POSITION                                                  Attorney
 SIGNATORY'S PHONE NUMBER                                              2068773382
 DATE SIGNED                                                           02/27/2017
 RESPONSE SIGNATURE                                                    /John W Sobba/
 SIGNATORY'S NAME                                                      John W Sobba
 SIGNATORY'S POSITION                                                  Attorney
 SIGNATORY'S PHONE NUMBER                                              2068773382
 DATE SIGNED                                                           02/27/2017
 AUTHORIZED SIGNATORY                                                  YES
 CONCURRENT APPEAL NOTICE FILED                                        NO
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Mon Feb 27 15:08:50 EST 2017
                                                                       USPTO/RFR-XX.XX.XX.XXX-20
                                                                       170227150850281018-870183
                                                                       44-580e7e632182e114ab1ec5
 TEAS STAMP
                                                                       9d8bb962ffe24b08518c37639
                                                                       9ed11969e61178891d3-N/A-N
                                                                       /A-20170227144932325844




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1960 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)



                              Request for Reconsideration after Final Action
To the Commissioner for Trademarks:

Application serial no. 87018344 LEAVENWORTH OKTOBERFEST(Standard Characters, see https://tmng-
al.uspto.gov/resting2/api/img/87018344/large) has been amended as follows:

CLASSIFICATION AND LISTING OF GOODS/SERVICES
Applicant proposes to amend the following class of goods/services in the application:
Current: Class 025 for Baseball caps; Hats; Shirts; T-shirts
Original Filing Basis:
Filing Basis: Section 1(a), Use in Commerce: The applicant is using the mark in commerce, or the applicant's related company or licensee is
using the mark in commerce, on or in connection with the identified goods and/or services. 15 U.S.C. Section 1051(a), as amended. The mark
was first used at least as early as 08/01/1998 and first used in commerce at least as early as 08/01/1998 , and is now in use in such commerce.

Proposed: Class 025 for Baseball caps; Hats; Shirts; T-shirts
Filing Basis: Section 1(a), Use in Commerce: The applicant is using the mark in commerce, or the applicant's related company or licensee is
using the mark in commerce, on or in connection with the identified goods and/or services. 15 U.S.C. Section 1051(a), as amended. The mark
was first used at least as early as 08/01/1998 and first used in commerce at least as early as 08/01/1998 , and is now in use in such commerce.

                 Declaration of Ethan Vodde - 44
            Case 2:22-cv-00174-TOR                   ECF No. 19          filed 09/16/22         PageID.693 Page 45 of 54


Applicant hereby submits one(or more) specimen(s) for Class 025 . The specimen(s) submitted consists of T-shirt with the applied for mark
"LEAVENWORTH OKTOBERFEST" inserted within a banner at the bottom third of an oblong shaped picture with a Bavarian hat on top of the
picture, mountains in the background of the picture and with two beer mugs situated over a blue and white checkered base in the foreground.
Below the applied for mark "LEAVENWORTH OKTOBERFEST" is situated the organization's name "Projekt Bayern" and location. .
"The substitute (or new, or originally submitted, if appropriate) specimen(s) was/were in use in commerce at least as early as the filing
date of the application"[for an application based on Section 1(a), Use in Commerce] OR "The substitute (or new, or originally submitted, if
appropriate) specimen(s) was/were in use in commerce prior either to the filing of the Amendment to Allege Use or expiration of the
filing deadline for filing a Statement of Use" [for an application based on Section 1(b) Intent-to-Use]. OR "The attached specimen is a true
copy of the specimen that was originally submitted with the application, amendment to allege use, or statement of use" [for an illegible
specimen]. Specimen File1

SIGNATURE(S)
Declaration Signature


DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both,
under 18 U.S.C. § 1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or
any registration resulting therefrom, declares that, if the applicant submitted the application or allegation of use (AOU) unsigned, all
statements in the application or AOU and this submission based on the signatory's own knowledge are true, and all statements in the
application or AOU and this submission made on information and belief are believed to be true.

STATEMENTS FOR UNSIGNED SECTION 1(a) APPLICATION/AOU: If the applicant filed an unsigned application under 15 U.S.C.
§1051(a) or AOU under 15 U.S.C. §1051(c), the signatory additionally believes that: the applicant is the owner of the mark sought to be
registered; the mark is in use in commerce and was in use in commerce as of the filing date of the application or AOU on or in connection with
the goods/services/collective membership organization in the application or AOU; the original specimen(s), if applicable, shows the mark in use
in commerce as of the filing date of the application or AOU on or in connection with the goods/services/collective membership organization in
the application or AOU; for a collective trademark, collective service mark, collective membership mark application, or certification mark
application, the applicant is exercising legitimate control over the use of the mark in commerce and was exercising legitimate control over the
use of the mark in commerce as of the filing date of the application or AOU; for a certification mark application, the applicant is not engaged in
the production or marketing of the goods/services to which the mark is applied, except to advertise or promote recognition of the certification
program or of the goods/services that meet the certification standards of the applicant. To the best of the signatory's knowledge and belief, no
other persons, except, if applicable, authorized users, members, and/or concurrent users, have the right to use the mark in commerce,
either in the identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services/collective
membership organization of such other persons, to cause confusion or mistake, or to deceive.

STATEMENTS FOR UNSIGNED SECTION 1(b)/SECTION 44 APPLICATION AND FOR SECTION 66(a)
COLLECTIVE/CERTIFICATION MARK APPLICATION: If the applicant filed an unsigned application under 15 U.S.C. §§ 1051(b),
1126(d), and/or 1126(e), or filed a collective/certification mark application under 15 U.S.C. §1141f(a), the signatory additionally believes that:
for a trademark or service mark application, the applicant is entitled to use the mark in commerce on or in connection with the goods/services
specified in the application; the applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in
commerce as of the application filing date; for a collective trademark, collective service mark, collective membership mark, or certification
mark application, the applicant has a bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce and
had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce as of the application filing date;
the signatory is properly authorized to execute the declaration on behalf of the applicant; for a certification mark application, the applicant will
not engage in the production or marketing of the goods/services to which the mark is applied, except to advertise or promote recognition of the
certification program or of the goods/services that meet the certification standards of the applicant. To the best of the signatory's knowledge
and belief, no other persons, except, if applicable, authorized users, members, and/or concurrent users, have the right to use the mark in
commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
goods/services/collective membership organization of such other persons, to cause confusion or mistake, or to deceive.



Signature: /John W Sobba/ Date: 02/27/2017
Signatory's Name: John W Sobba
Signatory's Position: Attorney
Signatory's Phone Number: 2068773382


Request for Reconsideration Signature
Signature: /John W Sobba/ Date: 02/27/2017
Signatory's Name: John W Sobba


           Declaration of Ethan Vodde - 45
            Case 2:22-cv-00174-TOR                   ECF No. 19          filed 09/16/22         PageID.694 Page 46 of 54


Signatory's Position: Attorney

Signatory's Phone Number: 2068773382

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.

The applicant is not filing a Notice of Appeal in conjunction with this Request for Reconsideration.


Serial Number: 87018344
Internet Transmission Date: Mon Feb 27 15:08:50 EST 2017
TEAS Stamp: USPTO/RFR-XX.XX.XX.XXX-20170227150850281
018-87018344-580e7e632182e114ab1ec59d8bb
962ffe24b08518c376399ed11969e61178891d3-
N/A-N/A-20170227144932325844




           Declaration of Ethan Vodde - 46
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.695 Page 47 of 54




Declaration of Ethan Vodde - 47
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.696 Page 48 of 54




                          Exhibit G




Declaration of Ethan Vodde - 48
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.697 Page 49 of 54




Declaration of Ethan Vodde - 49
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.698 Page 50 of 54




Declaration of Ethan Vodde - 50
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.699 Page 51 of 54




Declaration of Ethan Vodde - 51
Case 2:22-cv-00174-TOR        ECF No. 19   filed 09/16/22   PageID.700 Page 52 of 54




                          Exhibit H




Declaration of Ethan Vodde - 52
      Case 2:22-cv-00174-TOR                 ECF No. 19          filed 09/16/22        PageID.701 Page 53 of 54

                                                                                                601 West Riverside Avenue, Suite 1400
                                                                                                                  Spokane, WA 99201

                                                                                                               Phone | 509.324.9256
                                                                                                                 Fax | 509.323.8979




                                                                                                            July 26, 2022

     VIA EMAIL AND U.S. MAIL

     Cary Sanger
     Projekt Bayern Association
     P.O. Box 411
     Leavenworth, WA 98826-0411
     Email: carysanger@icloud.com

              Re:       City of Leavenworth 2022 Oktoberfest Celebration
                        Projekt Bayern Association

     Dear Ms. Sanger:

             This firm represents the City of Leavenworth (the “City”) in certain intellectual property
     matters; we are writing you in your capacity as the registered agent and governor for Projekt
     Bayern Association. As you are aware, Projekt Bayern (“PB”) contracted with the City for several
     years in relation to the City’s fall Oktoberfest celebration held in Leavenworth.

             Last year, the City terminated the contract with PB. Since that time, PB’s relationship with
     the City has deteriorated, to the extent that PB has disseminated blatantly untrue information in its
     public communications. PB has stated that the City is “lying” concerning an Oktoberfest in
     Leavenworth in 2022 and asserted that PB owns trademark rights to “LEAVENWORTH
     OKTOBERFEST.” PB has posted billboards, signs, and other advertising stating that
     “Leavenworth Oktoberfest” will be held in Wenatchee this fall.

             What is more, PB has sent the City and at least two third parties cease-and-desist letters,
     claiming exclusive rights to use “LEAVENWORTH OKTOBERFEST.” PB has gone so far as to
     assert that the use of “Bavariafest” would infringe PB’s rights, an assertion without legal support.

             PB’s statements to the public are untrue and are injurious to the City. At all times in the
     past, PB used “Leavenworth Oktoberfest” with the permission of the City. PB does not own rights
     in that usage, and the trademark application PB filed is invalid. The City has recently petitioned
     for that registration’s cancellation, noting the application’s geographic descriptiveness and the
     false Section 2(f) statement you signed on behalf of PB. Moreover, PB’s attempt to use
     “LEAVENWORTH OKTOBERFEST” in connection with an Oktoberfest in Wenatchee is
     deceptively geographically misdescriptive and deceives Washington consumers.

             The City does not dispute PB’s ability to coordinate and manage festivals, or to refer to a
     festival as an “Oktoberfest.” But the City is injured by PB’s claim to exclusive rights in
     LEAVENWORTH OKTOBERFEST, and is harmed by PB’s misinformation campaign, as well
     as PB’s interference with the City’s partners and proposed partners. Moreover, PB still owes the
     City $50,000 outstanding from its last engagement with the City.
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     Declaration of Ethan Vodde - 53
Case 2:22-cv-00174-TOR            ECF No. 19       filed 09/16/22     PageID.702 Page 54 of 54




         On behalf of the City, we demand PB cease and desist from its unlawful activities. For
clarity, the City demands of PB the following:

             •   PB must expressly abandon USPTO Reg. No. 5,239,374;
             •   PB must cease and desist from any use of “Leavenworth” in regard to activities that
                 are not associated with the City of Leavenworth;
             •   PB must cease and desist from further false statements, and issue a correction
                 withdrawing its past false statements, concerning the City and its 2022 Oktoberfest
                 celebration; and
             •   PB must meet its payment commitment under its agreement with the City.

        We have filed an action in the United States District Court for the Eastern District of
Washington to address all these concerns and attach a courtesy copy for your information. Please
respond to this letter no later than five (5) days from receipt to affirm your compliance. If we do
not hear from you by then, the City will have no choice but to continue with its District Court
action.

         As noted, we have directed this letter to you in your capacity as the registered agent and
governor for PB in its activities to date; please let us know if PB has engaged counsel to represent it in
litigation. This letter is not intended to be a full and complete statement of the facts in this matter, or of
the City’s rights, and shall not be construed as a waiver of any legal or equitable rights or remedies, all
of which are expressly reserved.

Sincerely,


LEE & HAYES, P.C.



Robert J. Carlson
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                                                                                                           Page 2
                                                                                                     July 26, 2022


Declaration of Ethan Vodde - 54
